Case No. 1:20-cr-00152-PAB Document 307 filed 07/26/21 USDC Colorado pg 1 of 11




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


 UNITED STATES OF AMERICA,


        Plaintiff,
 v.
 1.     JAYSON JEFFREY PENN,
 2.     MIKELL REEVE FRIES,
 3.     SCOTT JAMES BRADY,                             No. 20-cr-00152-PAB
 4.     ROGER BORN AUSTIN,
 5.     TIMOTHY R. MULRENIN,
 6.     WILLIAM VINCENT KANTOLA,
 7.     JIMMIE LEE LITTLE,
 8.     WILLIAM WADE LOVETTE,
 9.     GARY BRIAN ROBERTS, and
 10.    RICKIE PATTERSON BLAKE,


        Defendants.

                      DEFENDANT TIMOTHY MULRENIN’S
                MOTION TO DISMISS THE SUPERSEDING INDICTMENT

        Defendant Timothy Mulrenin, by and through undersigned counsel, respectfully moves to

 dismiss Count One of Superseding Indictment for failure to state an offense pursuant to Federal

 Rule of Criminal Procedure 12(b)(3)(B)(v). Couched in language that describes nebulous

 associations and exchanges of price information among representatives of broiler chicken

 suppliers, the allegations in the Superseding Indictment fall short of stating an agreement that

 amounts to a per se violation of the Sherman Act. That is, the Superseding Indictment fails to

 allege with the necessary particularity that there was an agreement to fix prices or rig bids.

 Further, even if the Superseding Indictment properly made such an allegation, it nevertheless

 fails to allege that Mr. Mulrenin knowingly joined any such agreement. Because the
Case No. 1:20-cr-00152-PAB Document 307 filed 07/26/21 USDC Colorado pg 2 of 11




 Superseding Indictment fails to allege the requisite elements of the charged offense under Fed. R.

 Crim. P. 7(c)(1), it must be dismissed. 1

 I.     FACTUAL BACKGROUND

        On October 6, 2020, a grand jury returned a Superseding Indictment against Mr.

 Mulrenin and nine of his co-defendants, charging all defendants with one count of violating

 Section 1 of the Sherman Act, 15 U.S.C. § 1, and charging co-defendant Jimmie Little with two

 additional counts. (Superseding Indictment (“SI”) ¶¶ 1, 147, 151.) The Superseding Indictment

 alleges that Defendants “entered into and engaged in a continuing combination and conspiracy”

 that “consisted of a continuing agreement, understanding, and concert of action[,] . . . the

 substantial terms of which were to rig bids and to fix, maintain, stabilize, and raise prices and

 other price-related terms for broiler chicken products sold in the United States.” (Id. ¶¶ 1–2.)

 The Superseding Indictment alleges that Mr. Mulrenin and his co-conspirators carried out the

 “combination and conspiracy” by utilizing a “continuing network” to reach agreements and

 understandings to submit aligned bids; to participate in conversations and communications

 relating to non-public information; and to monitor bids, (id. ¶¶ 47, 48(a)-(c),) and leaves open the

 possibility that additional individuals and entities were also co-conspirators. Specifically, the

 Superseding Indictment alleges:

                It was part of the conspiracy that Penn, Fries, Brady, Austin,
                Mulrenin, Kantola, Little, Lovette, Roberts, and Blake, together
                with their co-conspirators known and unknown to the Grand Jury,
                in the State and District of Colorado and elsewhere, participated in
                a continuing network of Suppliers and co-conspirators, an
                understood purpose of which was to suppress and eliminate



 1
   In addition, Mr. Mulrenin incorporates by reference and adopts the arguments made by
 defendant William Kantola that “[d]ue process does not permit such a loose and changing
 formulation of what can be prosecuted as a crime,” and as such, the Sherman Act charge is void-
 for-vagueness. (Doc. 295 at 9-11.)
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Case No. 1:20-cr-00152-PAB Document 307 filed 07/26/21 USDC Colorado pg 3 of 11




                competition through rigging bids and fixing prices and price-related
                terms for broiler chicken products sold in the United States.
        Id. ¶ 47 (capitalization omitted, emphasis added).

        This “continuing network” is alleged to have taken place over seven years related to

 multiple suppliers, customers, and products. (Id. ¶¶ 51-145.) The Superseding Indictment

 identifies 14 separate conspiratorial episodes that were allegedly carried out by the “continuing

 network” of suppliers. Mr. Mulrenin is implicated in only five out of the 14 episodes with

 allegations that Mr. Mulrenin participated in the claimed “continuing network” by receiving

 internal emails and texts from co-workers, and engaging in phone conversations, the substance of

 which is apparently unknown, since the Superseding Indictment is silent as to their content. In

 nearly all of the episodes implicating Mr. Mulrenin, it appears that Mr. Mulrenin is alleged to

 have “participated” by virtue of his awareness of a colleague’s discussions with others to which

 he was not a party, or by virtue of a handful of phone calls with another co-defendant.

 II.    LEGAL STANDARD

        Fed. R. Crim. P. 7(c)(1) requires that an indictment be “a plain, concise and definite

 written statement of the essential facts constituting the offense charged.” Fed. R. Crim. P. 7(c);

 United States v. Salazar, 720 F.2d 1482, 1486 (10th Cir. 1983). An indictment is sufficient if it:

 (1) contains the elements of the offense charged, and fairly informs a defendant of the charge he

 must defend against and; and (2) enables him to plead an acquittal or double jeopardy. Hamling

 v. United States, 418 U.S. 87, 117 (1974). The sufficiency of an indictment is judged “by

 practical rather than technical considerations.” United States v. Dashney, 117 F.3d 1197, 1205

 (10th Cir. 1997) (internal citations omitted). Only “well-pleaded facts, as distinguished from

 conclusory allegations, must be taken as true” in an indictment. See United States v. Morgan,

 No. 02-454 JC, 2002 U.S. Dist. LEXIS 30116, at *1-2 (D.N.M. Oct. 1, 2002) (quoting Swanson


                                                  3
Case No. 1:20-cr-00152-PAB Document 307 filed 07/26/21 USDC Colorado pg 4 of 11




 v. Bixler, 750 F.2d 810, 813 (10th Cir. 1984)). Where an indictment fails to state essential facts

 constituting the charged offense, it is subject to dismissal. See Russell v. United States, 369 U.S.

 749, 765 (1962) (“An indictment not framed to apprise the defendant with reasonable certainty,

 of the nature of the accusation against him is defective, although it may follow the language of

 the statute.”) (internal citations omitted); Fed. R. Crim. P. 12(b)(3)(B)(v).

        The Supreme Court has held that parroting the language of the Sherman Act, without

 more, is insufficient to sustain a charge. See United States v. U.S. Gypsum Co., 438 U.S. 422,

 438 (1978) (“The Sherman Act, unlike most traditional criminal statutes, does not, in clear and

 categorical terms, precisely identify the conduct which it proscribes.”). Accordingly, a Sherman

 Act charge must with some degree of particularity allege a “[1] contract, combination . . . or

 conspiracy, [2] in restraint of trade or commerce [3] among the several States,” and (4) that the

 defendant “knowingly joined and participated in the conspiracy.” United States v. Suntar

 Roofing, Inc., 897 F.2d 469, 480 (10th Cir. 1990) (citing United States v. Metro. Enters., Inc.,

 728 F.2d 444, 450 (10th Cir. 1984)); 15 U.S.C. § 1.

 III.   ARGUMENT

        The Superseding Indictment’s failure to sufficiently allege the Sherman Act’s requisite

 elements manifest in two ways. First, the Superseding Indictment fails to allege any “contract,

 combination . . . or conspiracy” that is cognizable as an agreement in restraint of trade under the

 per se rule and subject to criminal prosecution. Instead, the Superseding Indictment details a

 number of instances in which suppliers may have shared pricing information, conduct which, on

 its own, cannot form the basis for a per se violation. Second, the Superseding Indictment fails to

 allege that Mr. Mulrenin knowingly participated in any supposed agreement in restraint of trade,

 let alone an agreement that amounts to an unreasonable restraint of trade to be condemned under

 the per se rule as a crime.
                                                   4
Case No. 1:20-cr-00152-PAB Document 307 filed 07/26/21 USDC Colorado pg 5 of 11




        A.      The Superseding Indictment Fails to Allege an Agreement That is Per Se
                Unlawful under Section 1

        The government’s longstanding practice is that only per se violations of the Sherman Act

 qualify for criminal prosecution. United States v. Kemp & Assocs., Inc., 907 F.3d 1264, 1274

 (10th Cir. 2018). Per se liability is “reserved for only those agreements that are so plainly

 anticompetitive that no elaborate study of the industry is needed to establish their illegality.”

 Texaco Inc. v. Dagher, 547 U.S. 1, 5 (2006) (internal quotations omitted). An indictment’s

 failure to plead per se violations of the Sherman Act with precision therefore raises serious due

 process concerns. See Gypsum, 438 U.S. at 440-42 (aside from per se violations, “the behavior

 proscribed by the [Sherman] Act is often difficult to distinguish from the gray zone of socially

 acceptable and economically justifiable business conduct,” making “the use of criminal sanctions

 in such circumstances . . . difficult to square with the generally accepted functions of the criminal

 law”). This is precisely the defect of this charge—there are no allegations that illustrate that the

 communications cited were in furtherance of a per se unlawful agreement; rather, the

 Superseding Indictment does nothing more than quote the language of the statute and use generic

 terms to characterize normal business dealings and associations as nefarious, such as describing a

 “continuing network” “to reach agreements and understandings to submit aligned . . . bids and to

 offer aligned . . . prices.” (SI ¶ 48(a).) At most, the Superseding Indictment describes situations

 whereby suppliers may have plausibly shared information relating to bids, and therefore the

 Superseding Indictment does not provide particulars or make specific factual allegations

 sufficient to compel Mr. Mulrenin to defend against the charged per se Sherman Act violation.

 See Gypsum, 438 U.S. at 441 n.16; United States v. Citizens & S. Nat’l Bank, 422 U.S. 86, 113




                                                   5
Case No. 1:20-cr-00152-PAB Document 307 filed 07/26/21 USDC Colorado pg 6 of 11




 (1975) (applying rule of reason rather than per se analysis to agreements among competitors to

 exchange pricing information).

                 1.      The Superseding Indictment Fails to Allege That There Was Any
                         Agreement to Fix Prices

         To prove a criminal per se Sherman Act Section 1 violation, there must be a “meeting of

 minds.” See Monsanto Co. v. Spray-Rite Serv. Corp., 465 U.S. 752, 765, 768 (1984) (requiring a

 showing that a defendant made “a conscious commitment to a common scheme designed to

 achieve an unlawful objective”); Bell Atl. Corp. v. Twombly, 550 U.S. 544, 553 (2007) (in

 assessing a violation of Section 1 “the crucial question is whether the challenged anticompetitive

 conduct stems from independent decision or from an agreement, tacit or express”) (internal

 quotation marks omitted). No such agreement exists in the four corners of the Superseding

 Indictment.

         There is no reference to a “continuing network” in the statutory language of the Sherman

 Act, and the Superseding Indictment’s conclusory reliance on that term is inadequate, and cannot

 make up for the omission of an allegation that a per se unlawful agreement was reached. Even

 where the indictment repeats the “combination” and “conspiracy” language from the Sherman

 Act, (see SI ¶¶ 1, 2,) the Superseding Indictment does not go far enough to “precisely identify

 the conduct which it proscribes.” Gypsum, 438 U.S. at 438. It is not enough to merely state that

 conduct which bears no indicia of a conspiracy was, in fact, conspiratorial. The Superseding

 Indictment must include factual allegations to support such conclusory assertions, but fails to do

 so in the fourteen separate episodes that were allegedly part of the charged conspiracy.

         Specifically, the Superseding Indictment does not allege that Mr. Mulrenin agreed to fix

 prices or rig bids in any of the cited calls, texts, or emails, or that in participating in such

 communications, he did so with the aim to fix prices or rig bids. At most, the Superseding


                                                     6
Case No. 1:20-cr-00152-PAB Document 307 filed 07/26/21 USDC Colorado pg 7 of 11




 Indictment implies that in some of these calls or text messages, Mr. Mulrenin may have learned

 some information about what another supplier intended to bid, without ever providing similar

 information to the supplier. For example, with respect to the episode described in the

 Superseding Indictment as “QSR-4’s 2013 Freezing Charge,” Mr. Mulrenin is alleged to have

 received an email on May 31, 2013, sent to him by a colleague and stating that “[Supplier-1] told

 me they would be around .025 to .03 on 8pc & dark meat and [Supplier-5] told me they were

 .025 on 8pc and at this time was not charging for dark but would probably change to .025 for

 next year.” (SI ¶ 68(c).) 2 There are no allegations that Mr. Mulrenin responded to this email,

 nor how his receipt of this information implicated him in a broader “continuing network” to fix

 prices and rig bids. Indeed, this is a consistent theme seen across the episodes implicating Mr.

 Mulrenin, rendering the allegations against him fatally deficient.

        Importantly, the Superseding Indictment explicitly acknowledges that there are other

 legitimate reasons that Defendants were communicating throughout the seven year period, by

 indicating that price fixing and bid rigging was “an understood purpose” of the “continuing

 network.” (Id. ¶ 47 (emphasis added).) In other words, the government concedes that the

 alleged aim of price fixing and bid rigging was not the only purpose Defendants had for

 communicating with one another as part of this supposed “continuing network,” 3 and therefore

 Mr. Mulrenin’s purpose in communicating with other suppliers could very well have been for a



 2
   With respect to this episode, the Superseding Indictment also alleges that Mr. Mulrenin
 received: (1) an internal June 3, 2013 email from Mr. Roberts stating “I want to discuss this
 before we submit. I want to understand what the storage expectation is,”; and (2) a June 4, 2013
 email from a Tyson employee, copying Mr. Mulrenin, to QSR-4-Employee-1 with pricing for
 frozen 8-piece and dark meat at $.03. (Id. ¶¶ 69-70.)
 3
  The definition of “a” or “an” provides that it is “[u]sed to indicate membership of a class of
 people or things.” A, An, LEXICO.COM, https://www.lexico.com/en/definition/a (last visited July
 25, 2021).
                                                  7
Case No. 1:20-cr-00152-PAB Document 307 filed 07/26/21 USDC Colorado pg 8 of 11




 purpose other than the price fixing and bid rigging alleged in the Superseding Indictment. That

 the government failed to set forth any allegations in the Superseding Indictment stating that Mr.

 Mulrenin’s communications were for the unlawful purpose charged should be fatal to the

 Superseding Indictment.

        At most, the allegations in the Superseding Indictment amount to information exchanges

 between competitors, and as such cannot amount to a per se criminal violation. Gypsum, 438

 U.S. at 441 n.16 (“[t]he exchange of price data and other information among competitors does

 not invariably have anticompetitive effects; indeed such practices can in certain circumstances

 increase economic efficiency and render markets more, rather than less, competitive.”)

 (emphasis added). Exchanging prices or other competitively sensitive information with a

 competitor may give rise to an inference of an agreement, but it does not constitute an agreement

 to violate the Sherman Act standing alone. An example of a price information exchange not

 subject to the per se rule is exemplified in In re Baby Food Antitrust Litigation, where the

 conduct at issue was the exchange of information amongst baby food suppliers, specifically

 whether: (1) other competitors were “going to increase the wholesale list prices of their baby

 food products;” (2) the exchange of “future price information with various sales representatives”

 of competitors regarding whether they “were planning to announce future price increases;” and

 (3) generally the exchange of “pricing information with sales representatives of the other [baby

 food] companies.” 166 F.3d 112, 119 (3d Cir. 1999). Although the plaintiffs sought to

 characterize such conduct as evidence of price fixing, the court found that this evidence “evinces

 only an exchange of information among the defendants.” Id. at 121. Accordingly, the Third

 Circuit applied a rule of reason analysis in assessing the legality of the conduct at issue. Id. See

 also Mitchael v. Intracorp, Inc., 179 F.3d 847, 859 (10th Cir. 1999) (“Mere exchanges of



                                                  8
Case No. 1:20-cr-00152-PAB Document 307 filed 07/26/21 USDC Colorado pg 9 of 11




 information, even regarding price, are not necessarily illegal, in the absence of additional

 evidence that an agreement to engage in unlawful conduct resulted from, or was a part of, the

 information exchange.”); United States v. Suntar Roofing, Inc., 897 F.2d 469, 474–75 (10th Cir.

 1990).

          An illustrative example that the conduct alleged falls short of anything more than

 information sharing can be seen with respect to the episode described as “QSR-5’s 2014

 Conversion to Antibiotic-Free Broiler Chicken Meat.” Mr. Mulrenin’s alleged involvement in

 this episode stems from a 12-minute phone call with co-defendant Scott Brady on April 18,

 2014, and a text message Mr. Brady sent afterwards stating that he had a conversation with a

 “Tim” about “ABF,” which the Superseding Indictment assumes refers to Mr. Mulrenin and

 antibiotic free pricing. 4 (SI ¶ 86.) There are no allegations that the information exchanged was

 actually used to fix prices or rig bids. Thus, even taking these facts as true, they amount at most

 to exchanging price information. See In re Baby Food, 166 F.3d at 126 (“mere possession of

 competitive memoranda” reflecting “advance prices of competition” is not “evidence of

 concerted action to fix prices” because, “[i]n a highly competitive industry, . . . it makes common

 sense to obtain as much information as possible of the pricing policies and marketing strategy of

 one’s competitors”).

                 2.      The Superseding Indictment Fails to Allege That Mr. Mulrenin
                         Knowingly and Intentionally Entered Into Any Agreement

          Perhaps the most glaring deficiency in the Superseding Indictment is that it fails to allege

 that Mr. Mulrenin knowingly or intentionally joined the charged conspiracy. With respect to the

 five episodes implicating Mr. Mulrenin, the Superseding Indictment does not allege that he took



 4
   Mr. Mulrenin notes that the government’s assumption that reference to “Tim” in Mr. Brady’s
 text message is speculative.
                                                   9
Case No. 1:20-cr-00152-PAB Document 307 filed 07/26/21 USDC Colorado pg 10 of 11




 any action with respect to using price information to rig bids or fix prices. As explained above,

 there are no facts alleged in the Superseding Indictment that can support a finding of an

 agreement to fix prices, an obvious pre-requisite for a finding that Mr. Mulrenin was aware of

 and involved in a conspiracy to do so. Nor can the Superseding Indictment support an inference

 of an agreement. See Multistate Legal Studies, Inc. v. Harcourt Brace Jovanovich Legal and

 Prof’l Publ’ns, Inc., 63 F.3d 1540, 1556 (10th Cir. 1995) (“ambiguous conduct that is as

 consistent with permissible competition as with illegal conspiracy does not by itself support an

 inference of antitrust conspiracy under Sherman Act section 1.”).

        With respect to three out of the five episodes implicating Mr. Mulrenin, he is not even

 alleged to have had any contact with any competitor. Indeed, with respect to the allegations

 against Mr. Mulrenin concerning the episodes described as “QSR-4’s 2013 Freezing Charge,”

 “QSR-4’s Quality Assurance Costs for 2014,” and “QSR-2’s 8-Piece COB Supply for 2018 and

 2019,” not only are there no allegations that Mr. Mulrenin spoke with any other supplier, but the

 Superseding Indictment is also devoid of any allegations that Mr. Mulrenin was aware of any

 communications with other suppliers for the purposes of fixing prices or rigging bids. The

 closest allegation in this respect is made at paragraph 47, in which the alleged “continuing

 network” is described, and still there is no allegation that Mr. Mulrenin knew the “understood

 purpose” of this “continuing network” was to fix prices or rig bids. (SI ¶ 47.) As the Tenth

 Circuit has recognized, much more is required to sufficiently allege an agreement to violate the

 Sherman Act. See, e.g., United States v. Mobile Materials, Inc., 871 F.2d 902, 907 (10th Cir.

 1989 ) (finding the indictment sufficiently alleged a Sherman Act violation because it alleged the

 defendants “1) discuss[ed] the submission of prospective bids on projects, 2) agree[ed] on the

 successful low bidder on projects, 3) submit[ed] intentionally high, noncompetitive bids or



                                                 10
Case No. 1:20-cr-00152-PAB Document 307 filed 07/26/21 USDC Colorado pg 11 of 11




 withholding bids on construction projects and 4) submit[ed] bid proposals with false statements

 and entries.”), abrogated on other grounds by Bloate v. United States, 559 U.S. 196 (2010).

 IV.    CONCLUSION

        For the foregoing reasons, the Superseding Indictment fails to allege the necessary

 elements of the charged Section 1 violation, and it should be dismissed.


  Dated: July 26, 2021                             Respectfully submitted,


                                                   s/ Elizabeth B. Prewitt
                                                   LATHAM & WATKINS LLP
                                                   Elizabeth B. Prewitt
                                                   Caroline A. Rivera
                                                   1271 Avenue of the Americas
                                                   New York, NY 10020
                                                   Tel: (212) 906-1200
                                                   Email: elizabeth.prewitt@lw.com
                                                   Email: caroline.rivera@lw.com

                                                   Stimson Stancil LaBranche Hubbard, LLC
                                                   Marci G. LaBranche
                                                   1652 N. Downing Street
                                                   Denver, CO 80218
                                                   Tel/Fax: (720) 689-8909
                                                   Email: labranche@sslhlaw.com

                                                   Attorneys for Defendant Timothy Mulrenin




                                   CERTIFICATE OF SERVICE
         I hereby certify that on this 26th day of July, 2021, I electronically filed the foregoing
 with the Clerk of the Court using the CM/ECF system which will send electronic notification of
 such filing to all counsel of record.
                                                       s/ Nancy Hickam




                                                 11
